    Case 8:25-cv-00411-MSS-AAS                           Document 39          Filed 06/17/25    Page 1 of 1 PageID 1635

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                          Middle District
                                                      __________ District of
                                                                          of Florida
                                                                             __________

RUMBLE INC. and TRUMP MEDIA & TECHNOLOGY                              )
               GROUP CORP.                                            )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 8:25-cv-00411-CEH-AAS
                                                                      )
ALEXANDRE DE MORAES, Justice of the Supreme                           )
Federal Tribunal of the Federative Republic of Brazil
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Alexandre de Moraes
                                           Brasilia, Brazil




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       E. Martin De Luca                                        Caryn G. Schechtman
                                       Boies Schiller Flexner                                   DLA Piper (US)
                                       55 Hudson Yards                                          1251 Avenue of the Americas
                                       New York, NY 10001                                       New York, NY 10020



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
